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                                                   74458

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                                                     July 11, 2022

 VIA ECF

 Special Master the Honorable Thomas Vanaskie
 Stevens & Lee
 1500 Market Street, East Tower
 18th Floor
 Philadelphia, PA 19103


          Re:        In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                     Case No. 1:19-md-02875-RBK-JS



 Dear Special Master Vanaskie:

          This letter is to provide Defendants’ positions with respect to the topics on the agenda for

 the Biweekly Teleconference with Your Honor on July 13, 2022. The parties do not expect the

 need to discuss any confidential materials as part of these agenda items.

          1.         Plaintiffs’ Request to Expand the Scope of the Core Discovery for
                     Losartan/Irbesartan to Include “All nitrosamine testing”

          The parties met and conferred on July 1 and again on July 7 over Plaintiffs’ proposed

 categories of losartan/irbesartan “core discovery.” Based on these discussions, Defendants believe

 the only issue requiring the Court’s attention before finalizing a proposed core discovery order for

 these products relates to Plaintiffs’ request that production of “all nitrosamine testing” be

 prioritized from the custodial document review and production and added to core discovery. (See

 Proposed Order attached at Exh. A).

          As an initial matter, Defendants have not objected to the inclusion of any items that were

 requested and ordered for production as part of valsartan core discovery on April 29, 2019. [See

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 ECF No. 88]. The meet-and-confer process on those materials has strictly involved clarifying and

 incorporating later rulings into the proposed order so that the parties can avoid returning to the

 Court for further discussion of issues that have been previously resolved. Moreover, Defendants

 have not objected to Plaintiffs’ request for an expanded core discovery order that also includes:

 (1) production of certain FDA correspondence and documentation that was ordered for production

 in December 2019 and produced in early 2020; and (2) sales and pricing information that was not

 produced until May 2020. However, Plaintiffs’ expansive request for “all nitrosamine testing”

 dramatically broadens the prior core discovery order and rulings and effectively requires

 Defendants to undertake the type of comprehensive document review that was not completed until

 November 2020 – approximately 18 months after entry of the valsartan core discovery order – on

 a drastically accelerated timeline. This added request does not comport with the spirit and intent

 of “core discovery.”

          Defendants proposed that production of a limited set of readily-identifiable testing

 information, including all data provided to the FDA in connection with the losartan and irbesartan

 recalls, could be added to the expanded core discovery order. These testing data, along with the

 publicly available information on which lots of Defendants’ products have been recalled due to

 the presence of certain impurities, will provide Plaintiffs with the basic understanding needed to

 formulate later discovery. Plaintiffs objected to this proposal but have not narrowed their request

 for “all nitrosamine testing” in an attempt to reach compromise. It is notable that “all nitrosamine

 testing” directly encompasses information that was ordered for production as part of the custodial

 document production across no less than 4 specific Requests for Production, (see Doc. 328 Exh.

 A, RFPs 21, 36, 37, 46), and at least arguably requires Defendants to identify and produce material
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 requested in 20 other RFPs, (see id. RFPs 4, 5, 6, 10, 22, 25, 26, 29, 30, 35, 40, 42, 44 and 45-51).

 Final production of material responsive to these document requests did not occur until November

 2020. Adding this expansive item to core discovery will require Defendants, a number of whom

 have not previously participated in any discovery because they were not involved in the valsartan

 cases, to undertake a similarly comprehensive document review on a greatly accelerated timeline.

          In keeping with the spirit and intent of core discovery as established for the valsartan cases,

 the Court should enter Defendants’ proposed order, which incorporates language limiting the scope

 of testing to be produced to information provided to the FDA in connection with the recalls.

          2.       Plaintiffs’ Proposed Case Management Plan

          At the June conference with Judge Kugler, counsel for Plaintiffs indicated their intent to

 file certain motions for summary judgment, including, for example, with respect to their claims

 for breach of express warranty, violation of state consumer-protection statutes and violation of

 CGMP. (See June 1 Hr’g Tr. 14:18-23.) In response to this proposal, the Court stated: “[C]learly

 the plaintiffs in their motions for summary judgment are going to have to identify the exact claim

 they’re seeking summary judgment on and the statutes in that particular jurisdiction that are

 implicated.” (Id. 27:19-22.) When defense counsel expressed “hope” that “we could get to a place

 where the schedule contemplates a plaintiff and a state law,” the Court stated: “Well, I think that’s

 what’s going to happen. And obviously, if it doesn’t, you know, we’ll fix it.” (Id. 28:4-13

 (emphasis added).) The import of the Court’s statements is clear: counsel must identify the

 particular plaintiffs whose claims will be the subject of any dispositive motion practice so that

 Defendants can undertake any necessary discovery, identify proper experts and be prepared to

 brief the issues under the right facts and right state law. The Court also encouraged the parties to
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 focus on one or more of the individual third-party payor economic loss plaintiffs given that class

 certification motions are still pending.

          Consistent with those pronouncements, (and without waiving Defendants' objections to this

 entire proposal), Defendants repeatedly reached out to Plaintiffs’ counsel (first by conference call

 and then by follow-up email correspondence) seeking a list of cases whose claims will be the

 subject of merits discovery and subsequent dispositive motion practice. However, counsel for

 Plaintiffs have taken the position that the parties can proceed with discovery and summary

 judgment briefing “targeted at the allegations of the master complaints” with no further

 clarification. (July 7 Email from A. Slater to J. Miller, attached as Exh. B). Because there is no

 certified class action in this case, that response is simply too vague to protect Defendants’ due

 process right to defend against Plaintiffs’ contemplated motions.

          As the Court is aware, the Master Complaints were filed by numerous plaintiffs from across

 the country, implicating the laws of different states and territories. At this point, pursuant to

 choice-of-law rules, the parties would have to undertake the herculean task of briefing summary

 judgment under the disparate laws of all these states and territories, resulting in thousands of pages

 of briefing. Otherwise, Plaintiffs would essentially be seeking to “impose global MDL liability

 on the Defendants” in the abstract—untethered to any particular claimant. See, e.g., In re Zantac

 (Ranitidine) Prods. Liab. Litig., No. 20-MD-2924, 2021 WL 3473759, at *2-3 (S.D. Fla. Aug. 6,

 2021) (“Should the Plaintiffs survive the Defendants’ Daubert challenges, then, at the proper time,

 an individual Plaintiff may seek to pursue his or her individualized negligence claim against a

 Retailer or Distributor Defendant.”) (second emphasis added); see also, e.g., Kohn v. Am. Hous.

 Found., Inc., 178 F.R.D. 536, 542-43 (D. Colo. 1998) (“[T]he liability issue cannot be decided in
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 the abstract . . . .”); Ballew v. Matrixx Initiatives, Inc., No. CV-07-267-RHW, 2008 WL 4831481,

 at *3 (E.D. Wash. Oct. 31, 2018) (“The [c]ourt should not certify a class based on this broad,

 abstract question. . . . Answering this question resolves no class member’s claim and only invites

 the difficult question of how to proceed once the question is answered.”) (citation omitted). For

 these reasons, Defendants need clarity as soon as possible, particularly since Defendants will need

 to conduct discovery on the specific cases and claims that Plaintiffs intend to place at issue before

 any dispositive motions can be briefed.1

          Accordingly, Defendants respectfully request that the Court order Plaintiffs’ counsel to

 identify the particular cases in which Plaintiffs will be moving for summary judgment.

          3.       Attendance at Court-Ordered Mediations

          Judge Kugler previously ordered that settlement counsel for API Manufacturers and for

 Wholesalers attend settlement conferences set before the Settlement Masters, Judge (Ret.) Sleet

 and Judge (Ret.) Stengel on August 26, 2022, and September 15, 2022, respectively. [ECF Nos.

 2100 and 2101]. Plaintiffs seek to ask Judge Kugler to expand his orders to now include certain

 finished dose manufacturers at these upcoming settlement conferences. While settlement counsel

 for the Finished Dose Manufacturers stand ready to follow the Court’s further direction with

 respect to the timing and participation in any forthcoming settlement activities, Defendants expect


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         Contrary to Plaintiffs’ counsel’s suggestion, Defendants’ position is not inconsistent with
 their prior approach to moving to dismiss the master complaints. As the Court recognized, “neither
 party squarely addressed” “the appropriate law to apply to each of plaintiffs’ claims.” In re
 Valsartan, Losartan, & Irbesartan Prods. Liab. Litig., MDL No. 2875 (RBK/KW), 2021 U.S. Dist.
 LEXIS 17728, at *49 (D.N.J. Jan. 29, 2021). Moreover, as the Court further explained, such a
 choice-of-law analysis requires application of “the law of the plaintiff’s home state,” id. at *55-
 56, underscoring the importance of identifying which plaintiffs will be moving for summary
 judgment in this litigation.
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 Judge Kugler’s orders were intentionally crafted in this way to provide some measure of

 organization to this process and that Judge Kugler will issue further orders with respect to the

 Finished Dose Manufacturers when Judge Kugler and the Settlement Masters feel they will be

 most productive.



                                                                  Respectfully submitted,

                                                                  /s/ Lori G. Cohen

                                                                  Lori G. Cohen


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